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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:19-cv-01717-RGK-AGR Date August 14, 2020

 

Title Alex Morgan et al v. United States Soccer Federation, Inc.

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Stipulation to Continue Pretrial Deadlines
[DE 272]

On July 29, 2020, the Court continued the pretrial and trial dates because of the unavailability of
jurors during the current COVID-19 pandemic. On August 6, 2020, the parties filed a stipulation asking
that the Court continue certain pretrial deadlines—including the deadline to file oppositions to motions
in limine—to an unspecified date. The Court refers the parties to its Civil Jury Trial Order, which
provides that all relevant pretrial deadlines are calculated by counting back from the trial date. (See, e.g.,
Civil Jury Trial Order at 4 (“All opposition documents must be filed and served at least twenty-five (25)
days prior to the scheduled trial date.”’).) Accordingly, because the relevant deadlines were automatically
continued when the trial date was continued, the Court DENIES as moot the parties’ stipulation.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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